      Case 4:23-cv-00165-AW-MAF Document 1 Filed 04/26/23 Page 1 of 46




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION

LEAGUE OF WOMEN VOTERS OF
FLORIDA, INC.; LEAGUE OF WOMEN
VOTERS OF FLORIDA EDUCATION
FUND, INC.; and FLORIDA STATE
CONFERENCE OF BRANCHES AND
YOUTH UNITS OF THE NAACP,
       Plaintiﬀs,                                      Case No. 4:23-cv-165
v.
CORD BYRD, in his oﬃcial capacity as
Florida Secretary of State,
       Defendant.


                                  COMPLAINT

      1.     Plaintiﬀs, the League of Women Voters of Florida and the Florida State

Conference of the NAACP, bring this lawsuit, pursuant to 52 U.S.C. § 20510(b), to

challenge Florida’s uniform statewide voter registration application (the

Application) (annexed as Exhibit 1) and to vindicate their rights and those of their

members and constituents under the NVRA.

      2.     _e right to vote is fundamental. To ensure all eligible American

citizens can exercise that right, Congress enacted the National Voter Registration Act

of 1993 (NVRA), 52 U.S.C. § 20501 et seq., laying out basic minimum standards

for voter registration in federal elections—a ﬂoor below which states cannot fall.



                                          1
      Case 4:23-cv-00165-AW-MAF Document 1 Filed 04/26/23 Page 2 of 46




Congress’ aims were clear: increasing the number of eligible citizens who register

to vote and exercise their voting rights, and ensuring that state governments promote,

rather than impede, those rights.

      3.     _e State of Florida has chosen to defy that law. Florida enacted a

byzantine statutory scheme for the restoration of voting rights following felony

convictions that made it “sometimes hard, sometimes impossible” for returning

citizens (Floridians with past felony convictions) to determine their eligibility to

vote. See Jones v. DeSantis, 462 F. Supp. 3d 1196, 1241 (N.D. Fla. 2020), rev’d in

part and vacated in part sub nom. Jones v. Governor of Fla., 975 F.3d 1016 (11th

Cir. 2020) (en banc). _e Application, which fails to meet the NVRA’s basic

minimum standards for informing potential voters about Florida’s complicated

eligibility requirements, 52 U.S.C. § 20507(a)(5)(A) (general requirements), made

an already grave situation worse for people across Florida.

      4.     State mail-in registration applications for federal elections must

“include a statement that [] speciﬁes each eligibility requirement.” See id.

§§ 20505(a)(2) (requiring state mail voter registration forms satisfy the criteria in

Section 20508(b)), 20508(b)(2)(A) (requiring that mail voter registration forms

contain a statement that “speciﬁes each eligibility requirement”).

      5.     _e Application does not comply with these statutory mandates.

      6.     _e Application does not specify any speciﬁc eligibility requirements



                                          2
      Case 4:23-cv-00165-AW-MAF Document 1 Filed 04/26/23 Page 3 of 46




related to prior criminal convictions.

      7.     _e Application says only that, “[i]f you have been convicted of a

felony . . . you cannot register until your right to vote has been restored.”

      8.     _e Application also requires applicants to check a box stating “I aﬃrm

that I am not a convicted felon, or if I am, my right to vote has been restored.”

      9.     But the Application does not provide any explanation as to when an

individual’s “right to vote has been restored,” or any guidance for a voter seeking to

make that determination.

      10.    _e Application fails to inform voters that the eligibility requirements

diﬀer depending on a returning citizen’s conviction, the state of conviction, and the

sentence received. _e Application does not:

      • Specify that for most felonies in Florida, returning citizens’ rights are
        automatically restored upon completion of all terms of their sentence,
        including probation, parole, or community control and payment of certain
        legal ﬁnancial obligations (LFOs);

      • Specify that returning citizens convicted of murder or felony sexual
        oﬀenses in Florida can only have their rights restored through the clemency
        process; or

      • Specify that the voting rights of returning citizens convicted of felonies in
        states other than Florida are restored according to the law of the convicting
        state.1

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       This is despite the fact that the Division of Elections has declared that a
“felony conviction in another state makes a person ineligible to vote in Florida only
if the conviction would make the person ineligible to vote in the state where the
person was convicted.” Constitutional Amendment 4/Felon Voting Rights, FLA. DIV.


                                           3
      Case 4:23-cv-00165-AW-MAF Document 1 Filed 04/26/23 Page 4 of 46




      11.      In these many ways, the Application fails to adequately inform

applicants about Florida’s voter-eligibility requirements and violates the NVRA.

      12.      Due to the State’s NVRA violation and maze of voter-eligibility rules,

returning citizens struggle to accurately complete the Application and voter-

registration organizations struggle to assist returning citizens in answering the

Application.

      13.      Over the last ﬁve years, Florida changed its voter eligibility rules for

returning citizens signiﬁcantly. But the Application, which the State adopted in 2013,

does not account for these changes.

      14.      In 2018, a supermajority of Florida voters amended Florida’s

constitution to end the State’s policy of lifetime disenfranchisement for most

returning citizens.

      15.      An estimated 1.4 million Floridians with non-disqualifying felony

convictions expected to regain their right to vote due to this historic ballot initiative,

known as Amendment 4.



OF   ELECTIONS, https://dos.myflorida.com/elections/for-voters/voter-registration/
constitutional-amendment-4felon-voting-rights/ (last visited Apr. 25, 2023); see also
Dep’t of State Advisory Op. 04-05 (May 27, 2004) (“Those persons convicted of
felonies outside of Florida whose voting rights were restored by the state wherein
the felony was committed, may register to vote in Florida. No evidence of the civil
rights restoration is required at the time of registration.”). It appears, although the
State has nowhere confirmed, that this rule applies to out-of-state federal convictions
as well.

                                            4
      Case 4:23-cv-00165-AW-MAF Document 1 Filed 04/26/23 Page 5 of 46




      16.    In response to the single largest expansion of voting rights since the

U.S. Constitution was amended in 1971, Florida enacted Senate Bill 7066 (SB 7066)

in 2019. SB 7066 created a pay-to-vote system that eﬀectively revoked the eligibility

of nearly half of the intended beneﬁciaries of Amendment 4—more than 774,000

returning citizens who owe certain court-imposed debts that they cannot aﬀord to

pay. _is pay-to-vote system has been an “administrative train wreck.” Jones, 462

F. Supp. 3d at 1239.

      17.    Because of Florida’s complex voter-eligibility rules and its inability to

inform returning citizens whether they owe disqualifying LFOs, it is “sometimes

hard, sometimes impossible” for returning citizens to determine whether they are

eligible to vote. Id. at 1241.

      18.    _e State’s inability to administer its complex eligibility rules—many

of which SB 7066 created or exacerbated—has resulted in, and will continue to

cause, tragic consequences.

      19.    Within the last 13 months alone, the State prosecuted at least 39

returning citizens for registering to vote or voting while allegedly ineligible to do so.

_e available evidence reﬂects that most if not all of these returning citizens honestly

believed themselves to be eligible to register and vote.

      20.    For several of these returning citizens, a government oﬃcial advised

them to register or told them they could vote.



                                           5
      Case 4:23-cv-00165-AW-MAF Document 1 Filed 04/26/23 Page 6 of 46




       21.     Most if not all returning citizens that the State prosecuted received an

oﬃcial voter information card in the mail. See Fla. Stat. § 97.071(1).

       22.     Florida’s voter information card “constitutes notice of approval of

registration.” Id.

       23.     In other words, the State arrested and prosecuted dozens of returning

citizens (most of whom are Black) in the face of objective circumstances that would

cause any reasonable person to honestly believe in his or her eligibility to register

and vote.

       24.     _ese returning citizens faced or are facing felony charges, punishable

by up to ﬁve years in prison and $5,000 in additional court-imposed ﬁnes.

       25.     Florida’s Oﬃce of Statewide Prosecution (OSP) brought about half of

these cases.

       26.     OSP prosecuted these cases even though in previous litigation before

this Court and the Eleventh Circuit Court of Appeals, Florida repeatedly promised

that it would not prosecute cases in which returning citizens made “good faith, but

mistaken” decisions about their eligibility and emphasized the importance of the

willfulness mens rea element in Florida’s voter fraud statutes.2


2
      See, e.g., Opposition to Application to Vacate the En Banc 11th Circuit’s Stay
at 52, Raysor v. DeSantis, 140 S. Ct. 2600 (2020) (No. 19A1071) [tinyurl.com/
2p8d27u8]; En Banc Opening Brief of Defendants-Appellants at 74, 75, Jones v.
Governor of Fla., 975 F.3d 1016 (11th Cir. 2020) (No. 20-12003) [tinyurl.com/


                                           6
      Case 4:23-cv-00165-AW-MAF Document 1 Filed 04/26/23 Page 7 of 46




      27.    Relying in part on these representations from the State, the Eleventh

Circuit emphasized that no returning citizen who “honestly believes he has

completed the terms of his sentence commits a crime by registering and voting[.]”

Jones v. Governor of Fla., 975 F.3d 1016, 1048 (11th Cir. 2020).

      28.    Despite these representations, Florida appears to have adopted a policy

of prosecuting returning citizens for good-faith mistakes.

      29.    _e State’s Application makes matters worse. It increases the risk that

a returning citizen will be investigated, prosecuted, and re-ensnared in the criminal

system. Speciﬁcally, the Application requires applicants to aﬃrm their eligibility

without providing them with the information they need to make that determination,

or the guidance they require to accurately complete the form.

      30.    Plaintiﬀs therefore ask this Court to: (1) declare that the Application

violates the NVRA; (2) enjoin the Secretary of State from using the Application; and

(3) order the Secretary of State to develop a new application that complies with the

NVRA.

                                I. THE PARTIES

      A.     Plaintiﬀs

      31.    Plaintiﬀs League of Women Voters of Florida, Inc. and League of



cbxhsctw]; En Banc Reply Brief of Defendants-Appellants at 68, Jones, 975 F.3d
1016 (No. 20-12003) [tinyurl.com/9jaj99kj].

                                         7
      Case 4:23-cv-00165-AW-MAF Document 1 Filed 04/26/23 Page 8 of 46




Women Voters of Florida Education Fund, Inc., formed under Section 501(c)(3)

and Section 501(c)(4) of the Internal Revenue Code, respectively (collectively, the

League) are the Florida aﬃliate of the League of Women Voters of the United States

(LWVUS). _e League is a nonpartisan, voter-focused, grassroots nonproﬁt

organizations.

      32.    _e League has 29 chapters across the State of Florida, from Pensacola

to the Keys. _e League has thousands of members and an even greater number of

supporters and volunteers, all of whom receive regular communications from the

League. _e League also serves non-member Floridians.

      33.    _e League’s mission is to encourage informed and active participation

of citizens in government. Among other activities, the League educates citizens

about their voting rights and facilitates voting, including through get-out-the-vote

(GOTV) eﬀorts and registration drives. For over 84 years, the League has dedicated

substantial resources and eﬀort to increasing voter registration and civic

participation among the Floridians it serves.

      34.    _e League’s national arm, LWVUS, is the nation’s largest and longest-

standing grassroots voter registration organization, registering hundreds of

thousands of voters nationwide each year. It has engaged in GOTV eﬀorts since 1920

and has long supported state and federal legislation that increases voter registration

opportunities for eligible voters. In 1993, then-president of the LWVUS, Becky



                                          8
      Case 4:23-cv-00165-AW-MAF Document 1 Filed 04/26/23 Page 9 of 46




Kain, stood behind President Bill Clinton as he signed the NVRA and delivered

remarks in support of the landmark legislation.

      35.    _e League advocated for the passage of Amendment 4, lobbied against

the passage of SB 7066 while the Florida Legislature debated it, and sued in Gruver

v. Barton, Case No. 1:19-cv-121 (N.D. Fla.), a federal lawsuit challenging SB 7066

as unconstitutional and violative of the NVRA.

      36.    As part of its core mission to empower voters and defend democracy in

Florida, the League created a vigorous program to reach and register eligible

returning citizens across the state. _is program employs three interrelated principal

strategies to promote the full participation of returning citizens in civic society:

(1) educating returning citizens about their rights; (2) training volunteer attorneys

through two League-created and Florida Bar-approved continuing legal education

(CLE) courses to provide free legal services to returning citizens who need

assistance to determine or assert their eligibility to vote; and (3) organizing a

statewide volunteer outreach program to assist returning citizens with navigating the

voter registration process.

      37.    Prior to the 2020 general election, the League trained 1,000 volunteer

attorneys to provide free legal services to returning citizens statewide. It also sent

postcards to over 200,000 returning citizens across the state who it believed had no

outstanding disqualifying LFOs, informing them of their possible eligibility to vote.



                                          9
     Case 4:23-cv-00165-AW-MAF Document 1 Filed 04/26/23 Page 10 of 46




      38.    _e League’s success in reaching and registering returning citizens

depends on its ability to assist applicants in accurately completing voter registration

forms, including applicants’ oath or aﬃrmation as to their eligibility.

      39.    _e League has found that returning citizens are often confused about

their eligibility to vote because of Florida’s: (1) failure to provide suﬃcient

information on the Application about the voter eligibility requirements that apply to

people with felony convictions; (2) complex system for identifying outstanding

LFOs and determining whether they disqualify someone from registering or voting;

and (3) refusal to tell people about their eligibility to register or vote, including those

with out-of-state or federal convictions.

      40.    _e League also observed that applicants are unsure about how to

properly ﬁll out their voter registration applications, and regularly complete their

applications based on a good-faith belief in their eligibility.

      41.    Volunteers in the League’s statewide outreach program: (1) discuss the

value of voting, collective action, and civic engagement; (2) inform returning

citizens and re-entry groups about Florida’s voter qualiﬁcations and how one may

determine one’s eligibility or seek restoration of one’s rights based on available

information; and (3) encourage active participation in government and the political

process, including by registering to vote.

      42.    Defendant’s ongoing NVRA violation forces the League to divert its



                                            10
     Case 4:23-cv-00165-AW-MAF Document 1 Filed 04/26/23 Page 11 of 46




limited resources away from its other voter education, registration, and GOTV

programs—such as youth and new citizen programs. Instead, the League must direct

its resources toward educating returning citizens—and League volunteers who help

them register—about Florida’s eligibility requirements and helping them to

understand the Application.

       43.   But for the Application’s failure to eﬀectively inform returning citizens

about their eligibility, the League would not have had to divert resources to:

(1) updating its CLE courses for volunteer attorneys who assist returning citizens

with using the Application to register to vote; (2) developing and implementing a

new volunteer training program on Florida’s eligibility requirements, including how

to determine a returning citizen’s eligibility; and (3) retraining existing volunteers

and recruiting additional volunteers to staﬀ this program.

       44.   In parallel, the Application forces the League to expend more time

seeking to determine the eligibility of Florida citizens that it assists with voter

registration. _at expenditure is directly attributable to the Application’s failure to

state with speciﬁcity or clarity the state’s voter eligibility requirements for returning

citizens.

       45.   For similar reasons, the confusion and uncertainty that the Application

engenders forces the League to spend more time and resources identifying

volunteers for its statewide voter registration program. Fewer volunteers have the



                                           11
     Case 4:23-cv-00165-AW-MAF Document 1 Filed 04/26/23 Page 12 of 46




necessary expertise or willingness to parse eligibility requirements that the

Application never lays out.

      46.    _e League is concerned that by registering returning citizens using the

Application, the League will expose itself, its volunteers, and the returning citizens

it serves to criminal liability for inadvertent errors.

      47.    As a result of the misleading information in the Application and the

persistent threat of prosecution for good-faith mistakes, some of the League’s board

members have expressed reservations about continuing to operate a statewide voter-

registration program. Some League volunteers have also declined to participate in

eﬀorts to register returning citizens. _e League and its volunteers also are chilled

by the State’s ongoing investigations, arrests, and prosecutions of returning citizens

for good-faith errors under Fla. Stat. §§ 104.011 (false swearing; submission of false

voter registration information) and 104.15 (unqualiﬁed electors willfully voting).

And the State’s reported investigation of third-party voter registration organizations

and their members for allegedly registering ineligible returning citizens deters the

League and its volunteers as well.

      48.    _e threat to third-party voter registration organizations is real and

imminent, as evidenced by Defendant’s statements and new legislation that increases

criminal ﬁnes for such organizations. For instance, at a September 14, 2022 hearing

before the U.S. Commission on Civil Rights, Defendant Byrd publicly expressed his



                                           12
     Case 4:23-cv-00165-AW-MAF Document 1 Filed 04/26/23 Page 13 of 46




belief that organizations helping returning citizens to register to vote are engaged in

misconduct: “I do believe there are some organizations either well-meaning or

intentionally engaging in the unauthorized practice of law by advising people of

things that may or may not be accurate. As the federal court that reviewed

Amendment Four and ruled on it ultimately stated, it’s up to the individual

registering to know whether or not they are eligible.”

      49.    Additionally, the ﬁrst report that the DOS’s new Oﬃce of Election

Crimes and Security (OECS) released demonstrates that it is actively investigating

third-party voter registration organizations. See Fla. Dep’t of State, Oﬀ. of Election

Crimes and Sec. Rep., at 5 (Jan 15, 2023), https://ﬁles.ﬂoridados.gov/media/706232/

dos-oecs-report-2022.pdf.

      50.    And at a press conference on or about September 7, 2022, Governor

DeSantis commented: “[I]f you have like a third-party group or someone telling

somebody yeah you know you’re a convicted rapist but you can vote. _at obviously

is false and that may expose some of those groups to liability because clearly if

you’re involved in some type of voter mobilization, you know what the law is or not

what the law is and if you’re doing that you’re making a conscious decision to evade

the law.”

      51.    _e League seeks to protect and advance the interests of a particular

community (returning citizens), and the Application injures that community.



                                          13
     Case 4:23-cv-00165-AW-MAF Document 1 Filed 04/26/23 Page 14 of 46




Defendant’s ongoing NVRA violations have therefore made and continue to make it

substantially more diﬃcult for the League to fulﬁll its civic-engagement mission and

have adversely impacted and continue to adversely impact the League’s operations.

      52.    Plaintiﬀ Florida State Conference of Branches and Youth Units of

the NAACP (Florida NAACP) is a nonpartisan, nonproﬁt membership and civil

rights organization in Florida.

      53.    _e Florida NAACP is a state conference of branches of the National

Association for the Advancement of Colored People (NAACP).

      54.    _e NAACP was formed in 1909 to remove all barriers of racial

discrimination through democratic processes and through the enactment and

enforcement of federal, state, and local laws securing civil rights, including laws

relating to voter registration. _e NAACP advocated for the passage of the NVRA,

and, in 1993, then-executive director Benjamin Chavis spoke at the legislation’s

signing ceremony and stood with President Bill Clinton as he signed it into law.

      55.    _e Florida NAACP is the oldest civil rights organization in Florida,

and serves as the umbrella organization for local branches throughout the state,

which themselves are membership organizations. Members of the local branches are

also members of the Florida NAACP.

      56.    _e Florida NAACP advocated for the passage of Amendment 4,

lobbied against the passage of SB 7066 while it was being debated by the Florida



                                        14
     Case 4:23-cv-00165-AW-MAF Document 1 Filed 04/26/23 Page 15 of 46




Legislature, and was one of the plaintiﬀs in Gruver v. Barton, a federal lawsuit

challenging SB 7066 as unconstitutional and violative of the NVRA.

      57.    _e     Florida    NAACP’s      approximately     12,000    members     are

predominately Black individuals and include registered voters who reside

throughout the state. Some members of the Florida NAACP and its local branches

are returning citizens. _e Florida NAACP also serves non-member constituents

throughout the state, including non-member returning citizens.

      58.    For decades, the Florida NAACP has invested in statewide voter

registration and has been credited with the registration of thousands of Florida

voters. _e Florida NAACP has also engaged in public education on the political and

electoral processes, voter protection on election days, and advocacy for the right to

vote, all to encourage civic and electoral participation among its members and other

non-member voters it serves.

      59.    Among the constituents the Florida NAACP serves with its GOTV and

voter registration work are returning citizens. Following the passage of Amendment

4, the Florida NAACP planned to engage in a signiﬁcant voter-registration campaign

focused speciﬁcally on newly eligible returning citizens across the state; however,

the Florida NAACP’s success in reaching and registering returning citizens depends

on its ability to assist applicants with accurately completing voter registration forms,

including the applicant’s oath or aﬃrmation as to their eligibility.



                                          15
     Case 4:23-cv-00165-AW-MAF Document 1 Filed 04/26/23 Page 16 of 46




      60.    _e Florida NAACP has found that returning citizens are often

confused about their ability to vote because of Florida’s (1) failure to provide

suﬃcient information on the Application about the voter-eligibility requirements that

apply to people with felony convictions; (2) complex system for ascertaining the

existence of outstanding LFOs and determining whether they disqualify one from

registering or voting; and (3) refusal to inform applicants about their eligibility to

register or vote, including those with out-of-state convictions.

      61.    _e Florida NAACP has found that applicants are unsure about how to

properly ﬁll out their voter registration applications, and may complete their

applications based on good-faith belief in their eligibility.

      62.    _e Florida NAACP dedicates substantial resources to educate the

public about the political and electoral process and to increase civic participation

with its GOTV and voter-registration programs. Among the constituents the Florida

NAACP serves with its GOTV and voter registration work are returning citizens.

_e Florida NAACP, through its local branches, organizes know-your-voting-rights

trainings and voter-registration drives to assist returning citizens with determining

their eligibility and completing voter registration applications.

      63.    Defendant’s ongoing NVRA violation has forced the Florida NAACP

to divert its limited resources away from its core mission of promoting voting and

investing in GOTV eﬀorts and toward educating returning citizens about the



                                           16
      Case 4:23-cv-00165-AW-MAF Document 1 Filed 04/26/23 Page 17 of 46




Application’s requirements based upon information available to the organization.

       64.     But for the Application’s deﬁciencies in informing returning citizens

about their eligibility, the Florida NAACP would not have had to divert resources

to: (1) organize know-your-voting-rights trainings and voter registration drives to

assist returning citizens with determining their eligibility and completing voter-

registration applications; (2) develop new training materials for volunteers and new

public-education information; (3) coordinate additional resources, such as lawyers,

to assist with voter education and ﬁeld increased inquiries from returning citizens

about their right to vote; and (4) change statewide voter and election protection

activities beyond Election Day to include the period before and after elections to

assist constituents with the sometimes lengthy process of determining their

eligibility.

       65.     Florida NAACP member-volunteers also must spend more time seeking

to determine the eligibility of Florida citizens they assist with voter registration

because the Application fails to state, with any speciﬁcity or clarity, the State’s voter-

eligibility requirements for returning citizens.

       66.     _e Florida NAACP has cancelled events and voter-registration

activities to devote additional time and resources to educating voters, its local

branches, and other partners about the increased risks of registering to vote,

including because of the complexities surrounding determining eligibility.



                                           17
     Case 4:23-cv-00165-AW-MAF Document 1 Filed 04/26/23 Page 18 of 46




      67.    Florida NAACP leadership and members who previously conducted

robust voter-registration activities, speciﬁcally geared towards returning citizens

whose rights were restored by Amendment 4, have been deterred from participation

for fear of inadvertently registering someone in error.

      68.    _e Florida NAACP is concerned that by registering returning citizens

using the Application, it will expose returning citizens to criminal liability. _e

Florida NAACP also is concerned that by engaging in voter-registration activities

speciﬁcally geared towards returning citizens, it will be exposing returning citizens,

some of whom include its members, to criminal liability for inadvertent errors.

      69.    _ese concerns are not speculative, given the State’s ongoing

investigations and prosecutions of returning citizens for good-faith errors under Fla.

Stat. §§ 104.011 (false swearing; submission of false voter registration information)

and 104.15 (unqualiﬁed electors willfully voting). At the same time, the State is

reportedly investigating third-party voter-registration organizations and their

members for allegedly registering ineligible returning citizens.

      70.    Florida NAACP seeks to protect and advance the interests of a

particular community (returning citizens), and the Application injures that

community. Defendant’s ongoing NVRA violations have therefore made it

substantially more diﬃcult for the Florida NAACP to engage in its civic-engagement

mission and adversely impacts its operations.



                                         18
     Case 4:23-cv-00165-AW-MAF Document 1 Filed 04/26/23 Page 19 of 46




      B.       Defendant

      71.      Defendant Cord Byrd is sued in his oﬃcial capacity as Florida’s

Secretary of State (SOS), the State’s “chief election oﬃcer.” Fla. Stat. § 97.012.

      72.      It is the duty of his Department of State (DOS) to “prescribe by rule a

uniform statewide voter registration application for use in this state.” Fla. Stat.

§ 97.052; see also Fla. Admin. Code 1S-2.040.

      73.      As Florida’s chief election oﬃcer, the Secretary must “[c]oordinate the

state’s responsibilities under the National Voter Registration Act of 1993.” Fla. Stat.

§ 97.012(7).

      74.      _e Secretary is also responsible for “[e]nsur[ing] that all registration

applications and forms prescribed or approved by [DOS] are in compliance with . . .

the National Voter Registration Act of 1993.” Id. § 97.012(9).

      75.      _e Secretary is responsible for ensuring the State’s compliance with

all election laws. See Democratic Exec. Comm. of Fla. v. Lee, 915 F.3d 1312, 1318

(11th Cir. 2019) (“Because the Secretary is the state’s chief election oﬃcer with the

authority to relieve the burden on Plaintiﬀs’ right to vote, she was appropriately sued

for prospective injunctive relief.”) (citing Fla. Stat. § 97.012); see also Ex parte

Young, 209 U.S. 123 (1908) (permitting injunctive relief against individual state

oﬃcers in their oﬃcial capacities).

      76.      A state’s chief election oﬃcer is responsible for “coordination of State



                                           19
     Case 4:23-cv-00165-AW-MAF Document 1 Filed 04/26/23 Page 20 of 46




responsibilities” under the NVRA, 52 U.S.C. § 20509, and must make voter

registration forms available for distribution through governmental and private

entities, id. § 20505(b).

                        II. JURISDICTION AND VENUE

      77.    Plaintiﬀs bring this action under 52 U.S.C. § 20510(b) to redress

Defendant’s violations of the NVRA.

      78.    On January 13, 2023, Plaintiﬀs’ counsel and Plaintiﬀs served a 90-day

notice letter pursuant to 52 U.S.C. § 20510(b)(2) on Defendant. _e letter is attached

to this Complaint as Exhibit 2. On April 12, 2023, Plaintiﬀs’ counsel received a

response from Joseph S. Van de Bogart, General Counsel for the Florida Department

of State. Mr. Van de Bogart wrote that “[t]he Florida Department of State . . . is

reviewing [Plaintiﬀs’] proposed recommendations to the Florida Voter Registration

Application.” _e letter is attached to this Complaint as Exhibit 3. But the response

letter did not address the concerns Plaintiﬀs’ counsel and Plaintiﬀs outlined; nor did

it outline any proposed actions to speciﬁcally address those concerns in the future.

As of today—more than 90 days since Plaintiﬀs sent the letter—the violations

Plaintiﬀs identiﬁed within that letter have not been cured.

      79.    _is Court has subject-matter jurisdiction over this action pursuant to

28 U.S.C. §§ 1331 and 1343 because the matters in controversy arise under the laws

of the United States and because Plaintiﬀs bring this action to redress the



                                         20
     Case 4:23-cv-00165-AW-MAF Document 1 Filed 04/26/23 Page 21 of 46




deprivation, under color of state law, of rights, privileges, and immunities secured

by federal law.

      80.    _is Court has the authority to provide the emergency declaratory and

injunctive relief that Plaintiﬀs seek pursuant to Rules 57 and 65 of the Federal Rules

of Civil Procedure, 28 U.S.C. §§ 2201 and 2202, and 52 U.S.C. § 20510(b)(2).

      81.    Venue is proper in this Division and District under 28 U.S.C. § 1391(b)

and Local Rule 3.1(A)–(B) because Defendant resides in and a substantial part of

the events or omissions giving rise to the claim occurred in this Division and District.

                         III. FACTUAL ALLEGATIONS

      C.     Florida’s History of Disenfranchisement, Amendment 4, and SB
             7066.

      82.    From the 1860s to 2018, Florida’s constitution permanently banned

returning citizens from voting unless the Florida Board of Executive Clemency had

restored their voting rights.

      83.    _e ban had racist roots and a racially discriminatory impact.

      84.    Following the Civil War, Florida initially limited the right to vote to

free white males.

      85.    After Congress mandated that Florida adopt a constitution that did not

expressly discriminate on the basis of race, Florida permanently banned anyone with

a felony conviction from voting.

      86.    Combined with “‘Black Codes’ that upped the penalties for charges that


                                          21
     Case 4:23-cv-00165-AW-MAF Document 1 Filed 04/26/23 Page 22 of 46




were easy to pin on freed blacks,” “[f]elony disenfranchisement was a way of

reducing the eﬀect of the despised black suﬀrage that [Florida lawmakers] knew they

had no alternative but to accept.” Timothy Elfrink, The Long, Racist History of

Florida’s Now-Repealed Ban on Felons Voting, WASH. POST (Nov. 7, 2018)

https://www.washingtonpost.com/nation/2018/11/07/long-racist-history-floridas-

now-repealed-ban-felons-voting/ (quoting Jerrell H. Shafer, The Constitution of

1868, FLA. HISTORICAL QUARTERLY, Vol. XLI, No. 4 (April 1963), https://ucf.digital.

flvc.org/islandora/object/ucf%3A22393/).

      87.    Felony disenfranchisement limited Black people’s suﬀrage: as of 1940,

as little as 3 percent of Black Floridians were registered to vote; in 2016, although

Black people comprised 16 percent of Florida’s population, they made up 33 percent

of all those disenfranchised because of a felony conviction.

      88.    As of November 2016, more than 20 percent of Florida’s Black voting-

age residents could not vote. Hand v. Scott, 285 F. Supp. 3d 1289, 1310 (N.D. Fla.

2018), vacated and remanded sub nom. Hand v. DeSantis, 946 F.3d 1272 (11th Cir.

2020).

      89.    Florida’s clemency regime contributes to this disenfranchisement.

Before Amendment 4, a person’s ability to have their civil rights restored depended

entirely upon the unfettered discretion of the governor and other members of

Florida’s Board of Executive Clemency. FLA. CONST. art. IV, § 8; see also Fla. R.



                                         22
     Case 4:23-cv-00165-AW-MAF Document 1 Filed 04/26/23 Page 23 of 46




Exec. Clemency 4. Success under this system has been exceedingly rare, without

articulated standards, and largely illusory for Black returning citizens. See Hand,

285 F. Supp. 3d at 1302, 1310.

      90.    By 2016, nearly one out of every four people disenfranchised in the

United States lived in Florida. Florida also disenfranchised a higher percentage of

its citizens—of all races—than any other state. As of November 2016, nearly 1.7

million Floridians—“[m]ore than one-tenth of Florida’s voting population”—were

disenfranchised because of a felony conviction. Hand, 285 F. Supp. 3d at 1310.

Nearly 1.5 million of those disenfranchised had completed the custodial terms of

their sentences.

      91.    In 2018, nearly two-thirds of Florida’s voters approved Amendment 4,

voting to end the permanent disenfranchisement of returning citizens.

      92.    Amendment 4 added the following language to Article VI, Section 4(a)

of the Florida Constitution:

             Except as provided in subsection (b) of this section, any
             disqualiﬁcation from voting arising from a felony
             conviction shall terminate and voting rights shall be
             restored upon completion of all terms of sentence
             including parole or probation.

Subsection (b) provides:

             No person convicted of murder or a felony sexual oﬀense
             shall be qualiﬁed to vote until restoration of civil rights.

      93.    As the Florida Supreme Court explained, the “chief purpose of the


                                         23
     Case 4:23-cv-00165-AW-MAF Document 1 Filed 04/26/23 Page 24 of 46




amendment is to automatically restore voting rights to felony oﬀenders, except those

convicted of murder or felony sexual oﬀences, upon completion of all terms of their

sentence.” Advisory Op. to the Att’y Gen. Re: Voting Restoration Amend., 215 So.

3d 1202, 1208 (Fla. 2017).

      94.    Amendment 4 became eﬀective on January 8, 2019.

      95.    Shortly after Amendment 4 went into eﬀect, Florida’s Legislature and

Governor Ron DeSantis enacted SB 7066, amending Florida’s election laws to

prevent returning citizens whose rights were restored by Amendment 4 from

registering and voting until they have paid certain LFOs, namely, all “ﬁnes, fees,

costs, and restitution” within the “four corners” of their “sentencing document.”

Laws of Fla. ch. 2019-162 (CS for SB 7066), § 25 at 28 (creating Fla. Stat.

§ 98.0751(1), (2)(a)). _e law was eﬀective on July 1, 2019.

      96.    SB 7066 also deﬁned the terms “murder” and “felony sexual oﬀense,”

for which voting rights are not automatically restored by Amendment 4, to include a

list of Florida criminal code sections and any “similar oﬀense committed in another

jurisdiction.” Fla. Stat. § 98.0751(2)(b)–(c).

      97.    In 2019, a group of returning citizens and organizations, including

Plaintiﬀs the League and the Florida NAACP, brought suit in this Court challenging

SB 7066 as an unconstitutional “pay-to-vote” scheme and presenting a challenge

under the NVRA to the voter registration application that Florida adopted in 2019



                                          24
     Case 4:23-cv-00165-AW-MAF Document 1 Filed 04/26/23 Page 25 of 46




after passage of SB 7066 (2019 Registration Application). Jones, 462 F. Supp. 3d at

1196.

        98.   After trial in 2020, this Court ruled in Plaintiﬀs’ favor on those claims,

ﬁnding the pay-to-vote system unconstitutional and concluding that the 2019

Registration Application violated the NVRA. Id. at 1249–50.

        99.   On appeal, the Eleventh Circuit reversed this Court’s holding that the

pay-to-vote scheme is unconstitutional but left this Court’s detailed factual ﬁndings

undisturbed. Jones, 975 F.3d at 1049.

        100. _e defendants did not appeal the NVRA ruling.

        101. _is Court held that the 2019 Registration Application, adopted after

passage of SB 7066, violated the NVRA in that it required applicants to disclose

more information about their felony convictions than necessary. See Jones, 462 F.

Supp. 3d at 1244–45 (“_e new form thus runs afoul of the NVRA’s mandate that a

voter registration form require only such identifying and other information ‘as is

necessary to enable the appropriate State election oﬃcial to assess the eligibility of

the applicant and to administer voter registration and other parts of the election

process.’”) (quoting 52 U.S.C. § 20508(b)(1)).

        102. _is Court also held that the 2019 Registration Application was

“objectionable” because it contained cryptic language unlikely to be understood by

applicants. Id. (“[F]ew if any registrants are likely to know that Amendment 4 is now



                                          25
      Case 4:23-cv-00165-AW-MAF Document 1 Filed 04/26/23 Page 26 of 46




‘s. 4, Art. VI’ of the State Constitution.”).

      103. Despite the fact that the 2019 Registration Application contained

multiple, unnecessary “checkboxes,” these boxes did not account for the eligibility

statuses of all types of applicants, leaving some individuals with “no box to check.”

Id.

      104. For the foregoing reasons, this Court in Jones v. DeSantis enjoined the

defendants there from using the 2019 Registration Application. Id. at 1251.

      105. In response to the injunction, Florida reverted to the registration

application that it had used prior to the enactment of SB 7066, the Application at

issue here.

      106. Florida originally started using the Application in 2013.

      107. Because the Application was created in or about 2013, it does not

account for Amendment 4 or SB 7066.

      108. Since enacting its pay-to-vote system, Florida and Florida counties

have proven unable to timely verify the eligibility of registered voters with felony

convictions.

      109. _ere are no reliable, publicly available sources for determining

whether a returning citizen owes money or whether a returning citizen’s debts

disqualify him or her from voting.

      110. DOS and the Florida Department of Law Enforcement (FDLE)—state



                                            26
     Case 4:23-cv-00165-AW-MAF Document 1 Filed 04/26/23 Page 27 of 46




agencies charged with identifying potentially ineligible voters whose voting rights

have not been restored so that they can be removed from the rolls—have failed to

satisfy this legal duty for years, leaving voters who may or may not be eligible on

the voter rolls without informing them as to their eligibility status. Fla. Stat.

§§ 98.075(5) (requiring DOS to “identify those registered voters who have been

convicted of a felony and whose voting rights have not been restored”),

98.0751(3)(a), 98.093(2)(d) (requiring FDLE to “identify those persons who have

been convicted of a felony who appear in the voter registration records supplied by

the statewide voter registration system”); see also id. § 98.093(2)(e)–(f).

      D.     Florida’s Inadequate Voter Registration Application Exposes
             Returning Citizens to Prosecution for Voting-Related Crimes
             Based on Honest Mistakes About ^eir Eligibility.

      111. Rather than ﬁx the broken voter-registration system that it created, the

State investigates and prosecutes returning citizens who registered or voted based on

an honest but mistaken belief that they were eligible.

      112. In 2022, operating from the baseless premise that voter fraud is

widespread in Florida’s elections, Governor DeSantis called for the creation of an

unnecessary election-security oﬃce to investigate “election irregularities.”

      113. _e Florida Legislature created the Oﬃce of Election Crimes and

Security (OECS) and housed it in DOS.

      114. On August 18, 2022, just ﬁve days before the State’s primary election,



                                          27
      Case 4:23-cv-00165-AW-MAF Document 1 Filed 04/26/23 Page 28 of 46




OECS partnered with FDLE and local police to conduct highly publicized arrests of

20 returning citizens for allegedly voting while ineligible more than two years

earlier.

          115. At a campaign-style press conference held at a Broward County

courthouse, Governor DeSantis, ﬂanked by more than a dozen uniformed law

enforcement oﬃcers, heralded the arrests as the “opening salvo” and not the “sum

total.”

          116. Governor DeSantis announced that he had tapped OSP to prosecute the

returning citizens who were arrested because “people weren’t getting prosecuted”

by state attorneys.

          117. OSP charged the returning citizens arrested in August with violations

of either or both of two criminal statutes, Fla. Stat. §§ 104.011(1) and 104.15.

          118. Fla. Stat. § 104.011(1) is titled “False swearing” and provides:

                A person who willfully swears or aﬃrms falsely to any
                oath or aﬃrmation, or willfully procures another person to
                swear or aﬃrm falsely to an oath or aﬃrmation, in
                connection with or arising out of voting or elections
                commits a felony of the third degree, punishable as
                provided in s. 775.082, s. 775.083, or s. 775.084.

          119. Fla. Stat. § 104.15 is titled “Unqualiﬁed electors willfully voting” and

provides:

                Whoever, knowing he or she is not a qualiﬁed elector,
                willfully votes at any election is guilty of a felony of the
                third degree, punishable as provided in s. 775.082, s.


                                            28
     Case 4:23-cv-00165-AW-MAF Document 1 Filed 04/26/23 Page 29 of 46




              775.083, or s. 775.084.

       120. To obtain a conviction for false swearing under Section 104.011(1) or

for unqualiﬁed electors willfully voting under Section 104.15, the State must prove

that the action was “willful”; that is, the defendant knew he or she was ineligible to

register or vote but did so anyway.

       121. On information and belief, most, if not all, of the returning citizens

charged did not know that they were ineligible when they registered or voted.

       122. Video footage from their August arrests has a unifying theme: utter

shock and confusion. _ese individuals appear to have had no idea that they were

not eligible to register or vote.

       123. Former State Senator Jeﬀrey P. Brandes—a sponsor of SB 7066—was

disturbed by the arrests.

       124. Referring to SB 7066, former Sen. Brandes explained:

              _e way that we drafted the law was to say that if you were
              going to be arrested for [voting], the state had to prove that
              you did it willingly. Willingly means you had either
              knowledge or intent[.] . . . What we found with these
              videos, I think so far, every single case of the 20
              individuals is that none of them has said, I intended to do
              this, right.

Emerald Morrow, Inside Florida’s Voter Fraud Arrests—And The System That

Allowed Them to Happen, WTSP-TV (Nov. 7, 2022), https://www.wtsp.com/article/

news/investigations/10-investigates/broken-ballots-floridas-voter-fraud-arrests-



                                           29
     Case 4:23-cv-00165-AW-MAF Document 1 Filed 04/26/23 Page 30 of 46




show-cracks-election-system/67-d1aeb89f-cfb4-428a-a48c-a0ea10af9e68.

      125. Citing confusion among those arrested, former Sen. Brandes

condemned the “fundamental unfairness of these arrests.” Id.

      126. Last year, Bill Gladson, the State Attorney for Florida’s Fifth Judicial

Circuit, also declined to prosecute six returning citizens in Lake County who

allegedly voted while ineligible in 2020 because “[t]he evidence fail[ed] to show

willful actions[.]” Memorandum from Jonathan Olson, Div. Supervisor, Office of

State Att’y, Fifth Judicial Circuit (June 13, 2022), [https://tinyurl.com/ys3r67h6].

_ose individuals, like the returning citizens charged by the OSP, were given voter

information cards, were never notiﬁed they were ineligible, and “were encouraged

to vote by various mailings and misinformation.” Id.

      127. It is not surprising that those arrested as part of OECS’s “opening salvo”

lacked the requisite mens rea given the widespread confusion among election

oﬃcials and prospective voters with past convictions about voter eligibility after a

conviction in Florida.

      128. Florida does not make available any centralized database to returning

citizens who want to look up their voter eligibility or status.

      129. Most, if not all, of those who were arrested received a voter information

card in the mail. Fla. Stat. § 97.071(1).

      130. Florida Supervisors of Elections (SOEs) mail a voter information card



                                            30
     Case 4:23-cv-00165-AW-MAF Document 1 Filed 04/26/23 Page 31 of 46




to each newly registered voter whose Application is complete if the State has

conﬁrmed that the registrant is a real person. Fla. Stat. §§ 97.053(2), (6), 97.071.

       131. In addition, despite having registered to vote in 2019 or early 2020,

several of those charged were not informed until they were arrested in 2022 of the

State’s allegation of their ineligibility to vote.

       132. Based on public reporting, several of the arrested individuals were

advised to register or vote by Florida government oﬃcials.

       133. For example, based on publicly available information:

       a) _ree men—John Boyd Rivers, Dedrick Baldwin, and Kevin Bolton—
          were registered to vote by a representative from the Alachua County SOE
          as part of the county’s outreach campaign at local jails aimed at informing
          incarcerated Floridians that their voting rights had been restored.

       b) Upon hearing on the news that individuals with felony convictions had
          been granted the right to vote, Jerry Lee Foster called the Orange County
          Sheriﬀ’s Oﬃce and asked if he was, in fact, eligible to vote. A deputy told
          him that he was. He explained to the oﬃcers investigating his case that
          when he ﬁlled out his voter-registration application, he believed his right
          to vote had been restored.

       c) Douglas Oliver was approached by a canvasser while shopping. Oliver
          disclosed his felony conviction to the canvasser, who told him he was
          eligible nonetheless. Oliver then took the additional step of calling his local
          election oﬃce to conﬁrm that he could cast a ballot, despite having been
          convicted of a sexual oﬀense. _e election oﬃcial told him he was eligible.

       134. Faced with clear evidence that returning citizens are confused or

misinformed about their eligibility, Defendant and the State have done nothing.

       135. State oﬃcials are planning further voter investigations and prosecutions

of returning citizens rather than, for example, providing the necessary information

                                            31
     Case 4:23-cv-00165-AW-MAF Document 1 Filed 04/26/23 Page 32 of 46




on the Application to enable applicants to complete it accurately, or creating a

centralized database that would enable returning citizens to verify their eligibility.

      136. On October 14, 2022, DOS and OECS submitted a legislative budget

request for the 2023–24 ﬁscal year, seeking $2,285,837 in funding and 27 full-time

positions.

      137. On February 15, 2023, Governor DeSantis signed into law Senate Bill

4‑B (SB 4‑B), which purports to expand OSP’s authority to prosecute alleged voter

fraud identiﬁed by OECS. Laws of Fla. ch. 2023-2 (SB 4-B) (amending Fla. Stat.

§ 16.56(1)).

      138. Florida lawmakers introduced and passed SB 4‑B during a special

legislative session after judges in Broward, Miami-Dade, and Orange counties

dismissed four of OSP’s cases against returning citizens arrested in August 2022.

_e state courts concluded that OSP lacked authority to prosecute alleged

misconduct that did not occur in more than one judicial circuit.

      139. _e eﬀort to expand OSP authority under SB 4‑B, DOS’s and OECS’s

request for additional funding and staﬀ, and the statements from Defendant Byrd and

Governor DeSantis show that DOS, OECS, FDLE, and OSP plan to redouble their

eﬀorts to prosecute honest mistakes by returning citizens in the future, even where

local prosecutors have declined to prosecute.

      140. In addition, days after OECS’s “opening salvo,” the Florida Department



                                          32
      Case 4:23-cv-00165-AW-MAF Document 1 Filed 04/26/23 Page 33 of 46




of Corrections (DOC) revised its “Instructions to the Oﬀender,” a form for Floridians

on probation, to place the burden on returning citizens to determine if they are

eligible to vote.

       141. _e new language in the “Instructions to the Oﬀender” states, in

pertinent part:

                By signing this letter, you agree that you alone are solely
                responsible for determining if you are legally able to
                register to vote, and that you must solely determine if you
                are lawfully qualiﬁed to vote. If someone tells you that you
                are eligible to vote, you must rely upon your own
                independent knowledge (as informed by your own
                attorney if applicable) of your individual circumstances,
                and not upon the advice of any third parties who may be
                incorrect or unqualiﬁed to interpret your eligibility.

See Lawrence Mower, After voter fraud arrests, Florida issues new forms that could

bolster future cases, TAMPA BAY TIMES (Oct. 31, 2022), https://www.tampabay.com/

news/florida-politics/2022/10/31/desantis-probation-voter-fraud-form-felons-

eligibility/.

       142. _e State is trying to lay an even heavier burden on returning citizens

to determine their own eligibility. But the Application undermines their ability to

meet that burden and Plaintiﬀs’ ability to assist them in doing so.

       143. Despite the State’s statutorily prescribed role in determining eligibility

and its refusal to educate citizens about how to navigate its labyrinth of voter-

eligibility rules, the new DOC form purports to place the onus on returning citizens,



                                            33
     Case 4:23-cv-00165-AW-MAF Document 1 Filed 04/26/23 Page 34 of 46




even when they receive information from government oﬃcials stating or appearing

to conﬁrm that they are eligible to vote.

      144. Now, more than ever, returning citizens need a voter-registration

application that accurately conveys Florida’s voting eligibility criteria.

      E.     ^e Application and Application Process.

      145. To register to vote in Florida, an individual must ﬁrst obtain a voter

registration application in hard copy or online. See Fla. Stat. §§ 97.052, 97.0525. _e

current mail-in version—the Application (Exhibit 1)—is used statewide and is

labeled DS-DE 39. An individual can also register through the Department of

Highway Safety and Motor Vehicles; the content of the mail-in form dictates the

content of the form that the Department of Highway Safety and Motor Vehicles must

use. See Fla. Stat. § 97.057(3)(a). And an individual can also register online. _e

online application process “includes the information required for the uniform

statewide voter registration application.” Fla. Stat. § 97.0525(2)(b). _e Application

thus determines the content of voter registration interactions in Florida.

      146. _e Application states that “[i]f you have been convicted of a

felony . . . you cannot register until your right to vote has been restored.”

      147. _e Application also requires applicants to aﬃrm: “I am not a convicted

felon, or if I am, my right to vote has been restored.”




                                            34
     Case 4:23-cv-00165-AW-MAF Document 1 Filed 04/26/23 Page 35 of 46




      148. _e Application does specify other voter eligibility requirements: that

to register to vote in Florida, an applicant must be a U.S. citizen, a Florida resident,

and at least 18 years old.

      149. When detailing these other voter-eligibility requirements, the

Application does not present vague phrasing that would require an applicant to look

elsewhere to understand the eligibility requirements. For example, the Application

does not say that, to register to vote, the applicant must be “of voting age,” “have

the citizenship required to have the right to vote,” or that the applicant must be “not

born outside of the U.S., or if I am, I have been naturalized as a U.S. citizen.”

      150. During the application process, the applicant also must aﬃrm, subject

to criminal penalties for submitting false information: “I am not a convicted felon,

or if I am, my right to vote has been restored.”

      151. Florida’s 67 SOEs are required to accept voter-registration applications

from all applicants and must determine whether applicants are eligible. Fla. Stat.



                                          35
     Case 4:23-cv-00165-AW-MAF Document 1 Filed 04/26/23 Page 36 of 46




§§ 97.053(1), 98.045(1).

       152. A voter registration application is complete, and should be approved,

(1) when “all information necessary to establish the applicant’s eligibility pursuant

to s. 97.041 is received by a voter registration oﬃcial,” and (2) when the authenticity

of certain speciﬁed information is “veriﬁed.” Id. § 97.053(2), (6).

       153. All voter-registration applications received by a voter registration

oﬃcial must be entered into the statewide registration system within 13 days of

receipt, at which point it “shall be immediately forwarded to the appropriate

supervisor of elections.” Id. § 97.053(7).

       154. Upon receipt of a voter-registration application, the SOE “must notify

[the] applicant of the disposition of the . . . application within 5 business days after

voter registration information is entered into the statewide voter registration

system.” Id. § 97.073(1).

       155. _e SOE’s notiﬁcation “must inform the applicant that the application

has been approved, is incomplete, has been denied, or is a duplicate of a current

registration.” Id.

       156. _e mailing of a voter-information card “constitutes notice of approval

of registration.” Id.

       157. A voter-registration application can only be accepted as valid after

DOS, in conjunction with the Florida Department of Highway Safety and Motor



                                          36
     Case 4:23-cv-00165-AW-MAF Document 1 Filed 04/26/23 Page 37 of 46




Vehicles, has veriﬁed “that the applicant is a real, living person.” See Decl. of Maria

Matthews ¶ 10, Jones v. DeSantis, No. 4:19-cv-300-RH/MJF (Sep. 6, 2019), ECF

No. 148-16.

      158. DOS does not verify the “truth or accuracy of the felon aﬃrmation(s)

before registering the applicant to vote.” Id.

      159. Once registered, a voter may be removed from the voter roll “upon a

determination the voter is ineligible due to a prior felony conviction without

restoration of voting rights.” Id. ¶ 11.

      160. DOS is tasked with “identify[ing] those registered voters who have

been convicted of a felony and whose voting rights have not been restored by

comparing information received from a variety of sources including the Clerks of

the Circuit Court, the Board of Executive Clemency, the Florida Department of

Corrections, the Florida Department of Law Enforcement, or a United States

Attorney’s oﬃce.” Id.

      F.      ^e NVRA Mandates that State Voter Registration Applications
              Inform Returning Citizens of the Eligibility Requirements to Vote.

      161. Congress passed the NVRA because the right “to vote is a fundamental

right” and “it is the duty of the Federal, State, and local governments to promote the

exercise of that right.” 52 U.S.C. § 20501(a)(1)–(2).

      162. Congress found that “discriminatory and unfair registration laws and

procedures can have a direct and damaging eﬀect on voter participation in elections


                                           37
     Case 4:23-cv-00165-AW-MAF Document 1 Filed 04/26/23 Page 38 of 46




for Federal oﬃce and disproportionately harm voter participation by various groups,

including racial minorities.” Id. § 20501(a)(3).

      163. _e stated goals of the NVRA are to increase voter registration, enhance

voter participation, protect the integrity of the electoral process, and ensure accurate

and current voter-list maintenance. Id. § 20501(b).

      164. To that end, the statute requires states to “inform applicants . . . of []

voter eligibility requirements,” whether registrants apply via the federal mail-in

voter registration form, a state mail-in form, a state’s department of motor vehicles,

or any other state agency tasked with carrying out the NVRA. Id. § 20507(a)(5); see

id. §§ 20504(c)(2)(D), 20508(b)(4)(i).

      165. State mail-in registration forms for federal elections must “include a

statement that [] speciﬁes each eligibility requirement.” Id. §§ 20508(b)(2)(A),

20505(a)(2).

      166. _e purpose of the NVRA’s requirement that the Application specify

the eligibility requirements was to avoid ineligible applicants’ registration. See, e.g.,

S. Rep. No. 102-60, 102nd Cong., 1st Sess., at 23 (1991); 138 Cong. Rec. H4702-

41 (daily ed. June 16, 1992). Florida’s Application fails to accomplish this goal.

      167. _e Application does not comply with these statutory mandates because

it does not specify each eligibility requirement or inform applicants of the eligibility

requirements.



                                           38
     Case 4:23-cv-00165-AW-MAF Document 1 Filed 04/26/23 Page 39 of 46




      G.     Florida’s Uniform Statewide Voter Registration Application Does
             Not Specify Voter Eligibility Requirements or Inform Voters of the
             Requirements.

      168. With respect to returning citizens, the Application says only that “[i]f

you have been convicted of a felony . . . you cannot register until your right to vote

has been restored.”

      169. _e Application does not specify—indeed, it provides no indication

whatsoever—that diﬀerent eligibility requirements apply to individuals convicted of

diﬀerent types of oﬀenses or that diﬀerent eligibility requirements apply depending

on the terms of sentence or court of conviction.

      170. First, the Application does not specify the eligibility requirements

applicable to individuals convicted of murder or a felony sexual oﬀense in Florida.

      171. Notably, the Application does not inform applicants convicted of

murder or a felony sexual oﬀense in Florida that, under Amendment 4 and SB 7066,

they are not eligible to vote unless they have received restoration of their rights

through the clemency process. See FLA. CONST. art. VI, § 4(b) (“No person convicted

of murder or a felony sexual oﬀense shall be qualiﬁed to vote until restoration of

civil rights.”); Fla. Stat. § 98.0751(2)(b) (deﬁning the phrase “felony sexual oﬀense”

in Amendment 4), (c) (deﬁning the term “murder” in Amendment 4).

      172. Second, the Application does not specify the eligibility requirements

applicable to those convicted of felonies in Florida not involving murder or a sexual



                                         39
     Case 4:23-cv-00165-AW-MAF Document 1 Filed 04/26/23 Page 40 of 46




oﬀense.

      173. _e Application does not inform applicants convicted of felonies in

Florida not involving murder or a felony sexual oﬀense that, under Amendment 4,

to have their rights restored automatically, they must have completed “all terms of

sentence, including probation and parole.” See FLA. CONST. art. VI, § 4(a).

      174. Nor does the Application inform applicants convicted of felonies in

Florida not involving murder or a felony sexual oﬀense that, under SB 7066, to have

their rights restored automatically they must have been released from any term of

community control ordered by a court as part of their sentence and have paid certain

LFOs, including all ﬁnes, fees, costs, and restitution within the “four corners” of

their “sentencing document.” See Fla. Stat. § 98.0751.

      175. ,ird, the Application does not specify the eligibility requirements

applicable to those convicted of out-of-state felonies.

      176. _e Application does not inform applicants that “persons convicted of

felonies outside of Florida whose voting rights were restored by the state wherein

the felony was committed, may register to vote in Florida.” Dep’t of State Advisory

Op. 04-05 (May 27, 2004) (“No evidence of the civil rights restoration is required at

the time of registration.”).

      177. Nor does the Application inform applicants who were convicted of

felonies outside Florida that a “felony conviction in another state makes a person



                                         40
     Case 4:23-cv-00165-AW-MAF Document 1 Filed 04/26/23 Page 41 of 46




ineligible to vote in Florida only if the conviction would make the person ineligible

to vote in the state where the person was convicted.” Constitutional Amendment

4/Felon Voting Rights, FLA. DIV. OF ELECTIONS, https://dos.myﬂorida.com/elections/

for-voters/voter-registration/constitutional-amendment-4felon-voting-rights/.

      178. In addition, as discussed above, Florida SOEs send a voter-information

card to each newly-registered voter, including registrants whom they later determine

to be ineligible at the time they registered because their voting rights were not

restored after a felony conviction, so long as the application is complete and the State

has conﬁrmed the voter’s identity. See Fla. Stat. § 97.071.

      179. Florida’s voter information card does not include any information to

indicate to registrants that they might not be eligible to vote.

      H.     Florida’s Uniform Statewide Voter Registration Application Chills
             Voter Registration.

      180. _e Application contravenes the NVRA’s purpose of “increas[ing] the

number of eligible citizens who register to vote in elections for Federal oﬃce.” 52

U.S.C. § 20501(b)(1).

      181. Plaintiﬀs are chilled from engaging in voter registration and GOTV

activities because they are concerned about exposing returning citizens and

themselves to criminal liability based on confusion around accurately completing

the Application. _ese concerns are heightened due to the State’s ongoing

investigations, arrests, and prosecutions of returning citizens who registered to vote


                                          41
      Case 4:23-cv-00165-AW-MAF Document 1 Filed 04/26/23 Page 42 of 46




based on good-faith beliefs of their eligibility.

       182. Returning citizens who are not chilled from registering and voting are
exposed to the risk of prosecution and criminal penalties despite honestly mistaking

their eligibility.

                               IV. CLAIM FOR RELIEF

                                     COUNT ONE

                     Violation of the National Voter Registration Act
                       (52 U.S.C. § 20501 et seq.; 42 U.S.C. § 1983)

       183. Plaintiﬀs re-allege and incorporate by reference each allegation

contained in the preceding paragraphs as though fully set forth herein.

       184. Florida’s voter registration Application does not specify any speciﬁc

eligibility requirements related to prior criminal convictions.

       185. _e Application provides only that “[i]f you have been convicted of a

felony . . . you cannot register until your right to vote has been restored.”

       186. _e Application also requires applicants to check a box stating “I aﬃrm

that I am not a convicted felon, or if I am, my right to vote has been restored.”

       187. But the Application does not provide any explanation as to when an

individual’s “right to vote has been restored,” or any guidance for a voter seeking to

make that determination.

       188. _e Application fails to inform voters that the eligibility requirements

diﬀer depending on a returning citizen’s conviction, the state of conviction, and the

                                           42
     Case 4:23-cv-00165-AW-MAF Document 1 Filed 04/26/23 Page 43 of 46




sentence received.

      189. _e Application does not “specify” “each eligibility requirement.” See

52 U.S.C. §§ 20508(b)(2)(A), 20505(a)(2).

      190. _e Application does not specify that for most felonies in Florida,

returning citizens’ rights are automatically restored upon completion of all terms of

their sentence, including probation, parole, community control, and payment of

certain legal financial obligations.

      191. The Application does not specify that returning citizens convicted of

murder or sexual offenses in Florida can only have their rights restored through the

clemency process.

      192. The Application does not specify that the restoration of the voting rights

of returning citizens convicted of felonies in states other than Florida depend upon

their eligibility under the law of the state of conviction.

      193. Defendant is aware of these violations. On January 13, 2023, Plaintiﬀs

served a 90-day notice letter pursuant to 52 U.S.C. § 20510(b)(2) on Defendant.

      194. As of the date of this Complaint, more than 90 days since Plaintiﬀs sent

the letter, the violations Plaintiﬀs identiﬁed have not been cured.

      195. Plaintiﬀs have diverted signiﬁcant organizational resources to

informing returning citizens of the eligibility requirements that are not

communicated by the Application.



                                           43
     Case 4:23-cv-00165-AW-MAF Document 1 Filed 04/26/23 Page 44 of 46




      196. Plaintiﬀs and the communities they protect are aggrieved by

Defendant’s past and continuing violations of the NVRA and have no adequate

remedy at law.

      197. Declaratory and injunctive relief are required to remedy Defendant’s

past and continuing violations of the NVRA and to ensure Defendant’s future

compliance with the NVRA.


                            V. PRAYER FOR RELIEF

      WHEREFORE, Plaintiﬀs respectfully request that this Court enter judgment

in their favor and:

   A. Declare that the State’s uniform statewide voter registration application

      violates the NVRA, 52 U.S.C. § 20501 et seq.;

   B. Enjoin Defendant from publishing the current, illegal Application (Exhibit 1)

      and from requiring voter registration applicants to complete it;

   C. Direct Defendant to prepare, publish, and use an application that:

         i.   Informs individuals convicted of a statutorily enumerated murder or

              felony sexual oﬀenses in Florida that they are not eligible to vote unless

              they have had their right to vote restored through the clemency process;

        ii.   Informs individuals convicted of felonies in Florida not involving a

              murder or felony sexual oﬀense that they are eligible to vote if they

              completed all terms of sentence, including probation, parole, and


                                          44
     Case 4:23-cv-00165-AW-MAF Document 1 Filed 04/26/23 Page 45 of 46




             community control, and have paid disqualifying legal ﬁnancial

             obligations;

      iii.   Informs individuals convicted of felonies in another state that they are

             eligible to vote in Florida if their conviction did not result in their losing

             their voting rights in the other state, or if their voting rights were

             restored in the other state;

   D. Direct Defendant to convey the revised application and its content to Florida’s

      Department of Highway Safety and Motor Vehicles, so that the latter may

      develop a “voter registration application that is the same in content, format,

      and size as the uniform statewide voter registration application prescribed

      under s. 97.052,” Fla. Stat. § 97.057(3)(a);

   E. Award Plaintiﬀs costs, disbursements, and reasonable attorneys’ fees incurred

      in bringing this action pursuant to 52 U.S.C. § 20510(c); and

   F. Grant such other and further relief as the Court deems just and proper.



Respectfully submitted this 26th day of April, 2023,

/s/ Nicholas L.V. Warren

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                                            45
    Case 4:23-cv-00165-AW-MAF Document 1 Filed 04/26/23 Page 46 of 46




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                                     46
